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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                     Plaintiff,
       vs.                                    Case No. 11-40046-04/07-RDR

BRADLEY GUERRERO and
KAREN M. SHUTTS,

                     Defendants.


                                       O R D E R

       This case is before the court upon the motion of defendant

Shutts to extend the time to file pretrial motions.                     Doc. No. 95.

This motion is joined in by defendant Guerrero.                     Doc. No. 96.     No

opposition has been noted as of this time.

       The motion argues that because of the complexity of the case

and    the   large    volume    of    discovery,    defense     counsel      requires

additional time to effectively represent his client.                      The motion

also    notes   that    further       discovery    may   be   provided      and     that

additional time would be useful to evaluate a possible non-trial

resolution of the case which would avoid the need to file pretrial

motions.

       The court has reviewed the Speedy Trial Act factors and the

circumstances of this case in previous orders. Upon consideration,

the court shall grant defendant’s motion and extend the time for

all defendants to file motions to January 17, 2012. The government

shall respond to the motions by January 27, 2012.                    A hearing upon
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motions shall be scheduled for February 3, 2012 at 10:30 a.m.

     The court shall consider the extension of time granted in this

case to be excludable time for the purposes of the Speedy Trial

Act, 18 U.S.C. § 3161(h)(7).     It is in the interests of justice to

provide defense counsel adequate time to prepare to represent their

clients and to evaluate the possibility of a plea agreement.                 This

is also in the interests of the public because it promotes a fair

and efficient means of resolving a complex case.             The court has no

cause to find that the public’s safety will be jeopardized by

granting the proposed extension.

     IT IS SO ORDERED.

     Dated this 29th day of December, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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